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                 EXHIBIT B-062
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                                                                                    FILED IN OFFICE

                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                STATE OF GEORGIA                                   DEPUTY CLE K • f,       1 R COURT
                                                                                        FU!.TO••JCOt •:,1 Y, GA
In Re 2 May 2022 Special
Purpose Grand Jury

V.                                                      CASE NO. 2022-EX-000024




     REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
                RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests    permission    to use a recording   device in
Courtroom SD in order to [glrecord images and/ or (g]sound during all or
portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned     desires to use the
following described recording device(s):      (g]computer of any size, including a
tablet, a notebook, and a laptop; (g]smart phone, a cell phone or other wireless
phone; (g] camera and other audio or video recording devices (g] any similar
devices small audio recorders, still cameras.

The proceedings that the undersigned desires to record commence on (date and
timeJl0:30 a.m. Aug. 25, 2022. Subject to direction from the court regarding
possible pooled coverage, the undersigned    wishes to use this device in the
courtroom on (date and time/10:30 a.m. Aug. 25, 2022.

The personnel         who will be responsible           for the use of this recording device are:
(identify   appropriate   personnel   or individualfr.amar    Hallerman, Bill Rankin and AJC
photographer.

The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any


For questions or concerns email pio@fultoncountyqa.gov                                             1
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guidelines issued by the court.



The Atlanta Journal-Constitution
(News Agency/Media Outlet/Law             Firm/Individual   Representative)

tamar.hallerman@ajc.com
(Email Address)

540-257-1446
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               [g]Approved


               The requesting    agency:
                                be pool for its media
                       [g]Shall not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 18 th day of August 2022.




                                Atlanta Judicial Circuit




For questions or concerns email pio@fultoncountyqa.gov                         2
Rule 22 (Rev. 04/01/   18)
